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United States District Court UF| L D
for the EASTERN SILJD\STF§|€T c/i\i§ii§rzs.¢\$
Eastern District of Arkansas

AUG 2 6 2009

Petition for Summons for Offender Under SuperviszIME
Supplemental By:

 
 

Name of Offender: James Jackson Case Number: 4:02CR00094-001 WRW

Name of Sentencing Judicial Officer: Honorable William R. Wilson, Jr.
United States District Judge

Offense: Possession with intent to distribute more than 5 grams of cocaine base
Date of Sentence: November 21, 2002
Sentence: 84 months Bureau of Prisons, 4 years supervised release, mandatory drug

testing, substance abuse treatment, and $100 special penalty assessment

March 3, 2008: Sentence of imprisonment reduced to time served under

18 U.S.C. 3582(c)(2), and immediately enter and complete residential
substance abuse treatment followed by chemical free living, all provisions of
judgment dated November 21, 2002, shall remain in effect

March 24, 2008: Revoked, 6 months Bureau of Prisons, 36 months
supervised release, mandatory drug testing, substance abuse treatment, and
$100 special penalty assessment

June 18, 2009: Revocation hearing- continued for 90 days

Type of Supervision: Supervised Release Date Supervision Commenced: February 6, 2009
Expiration Date: February 5, 2012

Asst. U.S. Attorney: John Ray White ’ Defense Attorney: Teresa Bloodman
U.S. Probation Officer: Robert L. Gwin
Phone No.: 501-604-5270

PETITIONING THE COURT
The offender has violated the following condition(s) of supervision:
Condition Nature of Noncomnliance
General The defendant shall refrain from any unlawful use of a controlled substance.
On June 26, 1009, Mr. Jackson reported to the probation office and submitted a drug

screen which tested positive for marijuana. He signed an admission of drug use form
acknowledging he smoked marijuana on June 24, 2009.

 

Prob 12C

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-2- Petition for Summons for
Offender Under Supervision

Name of Offender: J ames Jackson Case Number: 4:02CR00094-001 WRW

Special

On July 8, 2009, Mr. Jackson reported to the probation office and submitted a drug
screen which tested positive for marijuana. He signed an admission of drug use form
acknowledging he smoked marijuana on July 4, 2009.

On August l7, 2009, Mr. Jackson reported to the probation office and submitted a drug
screen which tested positive for marijuana and cocaine. He signed an admission of drug
use form acknowledging he smoked marijuana and ingested cocaine on August 15, 2009.

Mr. Jackson reports he has been participating in the Hoover Center Outpatient Treatment
Program.

The defendant shall participate, under the guidance and supervision of the U.S.
Probation Office, in a substance abuse treatment program which may include
testing, outpatient counseling and/or residential treatment and abstain from the use
of alcohol throughout the course of any treatment.

Mr. Jackson failed to report for random drug testing on May 21 ,July 27 and 30; and
August l2, 2009

The defendant shall report to the probation officer and shall submit a truthful and
complete written report within the first five days of each month.

Mr. Jackson failed to submit a written report for June and July 2009 as required by the
conditions of his supervision.

lt is requested this information be included with the previously reported violations dated May 8, 2009.
A summons was issued and a revocation hearing was held June 18, 2009. The revocation hearing was
continued until September 29, 2009. Mr. Jackson has retained Teresa Bloodman as counsel. The
Government is represented by Assistant U.S. Attorney John Ray White.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on

 

 

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Robert L. Gwin \J`ehn Ray White
U.S. Probation Ofticer Assistant U. S Attorney
Date: August 24, 2009 Date: 9$§21» /j$@¢,`

 

 

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This form is to be filed with Criminal Docketing as a motion.

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Prob 12C -3- Petition for Summons for

` Offender Under Supervision
Name of Offender: J ames Jackson Case Number: 4:02CR00094-001 WRW
Approved:

Supervising U.S. Probation Officer

 

RLG/jkr

cc: Teresa Bloodman, P.O. Box 13641, Maumelle, AR 72113
Assistant U.S. Attorney, John Ray White, P.O. Box 1229, Little Rock, AR 72203

